872 F.2d 419
    Unpublished DispositionNOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vaughn Michael RICE, Plaintiff-Appellant,v.Aaron J. JOHNSON, Hazel W. Keith, Defendants-Appellees.
    No. 88-6883.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 9, 1989.Decided March 10, 1989.
    
      Vaughn M. Rice, appellant pro se.
      Before ERVIN, Chief Judge, WILKINS, Circuit Judge, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Vaughn Michael Rice appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Rice v. Johnson, C/A No. 87-1199-CRT (E.D.N.C. Nov. 28, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    